Case 1:19-cv-00305-RMC Documents Filed 12/13/18 Page 1 of1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D} AND LOCAL

 

 

 

 

 

 

 

CRIMINAL RULE 57.4
In Case Number |-18-CV-01180-LO-TCB, Case Name August Wolf v Samantha Menh
Party Represented by Applicant: Samantha Menh fl L F
To: The Honorable Judges of the United States District Court for the Eastern District of Virginia DEC | 3 20/8
PERSONAL STATEMENT
CLERK, U.S. DISTRICT COURT
FULL NAME (no initials, please) GARY PHELAN ALEXANDRIA, VIRGINIA
Bar Identification Number _CT03670 State CT.
Firm Name MITCHELL & SHEAHAN, P.C.
Firm Phone # (203) 873-0240 Direct Dial # FAX # (203) 873-0235

 

E-Mail Address _gphelan@mitchellandsheahan.com
Office Mailing Address _80 Ferry Blvd., Suite 216, Stratford, CT 06615

 

 

Name(s) of federal couri(s) in which I have been admitted Connecticut, Southern District of New York, U.S. Court of Appeals,
Second Circuit, U.S. Supreme Court__

I certify that the rules of the federal court in the district in which | maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

| have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, } have read the Local Rules of this Coust
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

lam__ am not X_a full-time employee of the United States of America, and j if so, request exemption from the admission fee,
UE Me Lai. {Applicant's Signature)
I, the undersigned, do certify that ] am a member of the bar of this Courl, not not related to the applicant; that 1 know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant’s personal statement. 1 affirm that his/her personal and professional character and standing are goad, and

petition the court to admit the applicant pro hac vice.
eer W{\yS> (2/4 NK
Sem) | | | | (Date) *

(Typed or Printed Name) (VA Bar Number}
Court Use Only: yn’

Clerk’s Fee Paid or Exemption Granted

The motion for admission is GRANTED _|~ or DENIED __

Yay Oye 4
bli UO OPfacy
o

Uisicd States District Judge

Doel 3 Jor
(Judge’s Sighafure) WI (Date)
NS

 
